IN THE U`NITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TEN`NESSEE

NASHVILLE DIVISION
KATHLEEN ANN MARTIN )
)
Plaintiff, )
) No. 3209-0\/-00566
v. ) JUDGE HAYNES
)
DIRECT INSURANCE )
)
Defendant. )

QMM

Upon review of the record, the Clerk of Court mailed a copy of an Order in this action to
the Plaintiff on June 22, 2009. A copy of this Order was returned to the Cou.rt as “Return to
Sender,” and marked “Rehised.” (Docket Entry No. 6).

Under Fed. R. Civ. P. 5 (b), service is effective upon mailing to the party's last known
address lt is a party's responsibility to inform the Court of her address so as to enable the Court
to inform all parties of matters arising in the litigation. Downs v. Pyburn, No. 3:87-0471 (M.D.
Tenn. Order filed September 4, 1987). 'I`he Plaintiff has failed to inform the Court of her new
address, and the Court is unable to conduct the necessary proceedings in this action.

Accordingly, this action is DISMISSED without prejudice under Rule 41(b) of the
Federal Rules of Civil Procedure for Plaintiff’s failure to prosecute

It is so ORDERED.

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F.NTERED this theQ day ofJune, 2009.

 

wILLIAM J.KHANES, liz.

United States District Judge

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